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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

JACKSONVILLE DIVISION

ANTONIO HALL, SR.,

Plaintiff,
v. CASE No. 3:18-cv-01372-J-20JRK
WELLS FARGO BANK, N.A.,

Defendant.

/
ORDER

THIS CAUSE is before the Court on the Parties “Joint Stipulation of Dismissal with Prejudice.”
(Doc. 13).

Accordingly, it is hereby ORDERED:

1. Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, this case is DISMISSED
with prejudice with each party to bear their own attorneys’ fees, costs and expenses; and

2. The Clerk is directed to CLOSE this case.

DONE and ORDERED at Jacksonville, Florida, this / Ay day of July, 2019.

I) ptf fA SLC
HARRY E. SCHEPSNGER
Copies to: D STA ISTRICT JUDGE

Shaughn C. Hill, Esq.
Artin Betpera, Esq.
